                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:08-cr-259


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
LORETTA BLAKENEY-HERRON (1)              )
________________________________________ )




       THIS MATTER is before the Court upon letter of the defendant, pro se, requesting that

the Court modify its sentence. (Doc. No. 310).

       The Court sentenced the defendant to 149 months’ imprisonment on April 28, 2010. (Doc.

No. 246: Judgment). The conviction became final when the defendant did not appeal. The Court

does not have jurisdiction to consider the defendant’s request for leniency based on her medical

situation. Fed. R. Crim. P. 35.

       IT IS, THEREFORE, ORDERED that the defendant’s request is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney.
                                                  Signed: February 28, 2012




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